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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                 HARRISONBURG DIVISION

UNITED STATES OF AMERICA                      )       Civil Case No. 7:01cv00383
                                              )       Criminal Case No. 7:97cr00024-4
                                              )
v.                                            )       2255 FINAL ORDER
                                              )
RAYED FAWZI ABED,                             )       By: Michael F. Urbanski
    Petitioner.                               )       United States District Judge

       In accordance with the memorandum opinion entered this day, it is ORDERED and

ADJUDGED that Abed’s motion (Docket No. 18) is CONSTRUED as a motion to vacate, set

aside, or correct sentence, pursuant to 28 U.S.C. § 2255, and the Clerk is DIRECTED to

DOCKET it as such; the § 2255 motion is DISMISSED without prejudice as successive;

Abed’s request for appointment of counsel (Docket No. 19) is DENIED; and the case is

STRICKEN from the active docket.

       Further, the court finds that Abed has not made the requisite showing of the substantial

denial of a constitutional right as required by 28 U.S.C. § 2253(c) and, therefore, a certificate of

appealability is DENIED.

       The Clerk is directed to send a copy of this Order and the accompanying Memorandum

Opinion to petitioner.

                                              Entered: October 21, 2014


                                              Michael F. Urbanski
                                              Michael F. Urbanski
                                              United States District Judge
